        Case 2:15-cv-01045-RFB-BNW Document 1050 Filed 10/21/24 Page 1 of 2



 1
                                 IN THE UNITED STATES DISTRICT COURT
 2                                     FOR THE DISTRICT NEVADA
 3   CUNG LE, NATHAN QUARRY, JON FITCH,
     BRANDON VERA, LUIS JAVIER                           Case No. 2:15-cv-01045-RFB-BNW
 4
     VAZQUEZ, and KYLE KINGSBURY, On
 5   Behalf of Themselves and All Others Similarly
                                                         NOTICE OF CHANGE OF FIRM
     Situated,
 6                                                       AFFILIATION AND ADDRESS
                                                         OF COUNSEL
                   Plaintiffs,
 7

 8          v.

 9   ZUFFA, LLC, D/B/A ULTIMATE FIGHTING
     CHAMPIONSHIP and UFC,
10
                   Defendant.
11
     KAJAN JOHNSON, CLARENCE
12
     DOLLAWAY, and TRISTAN CONNELLY, on                 Case No. 2:21-cv-01189-RFB-BNW
13   Behalf of Themselves and All Others Similarly
     Situated,
14
                   Plaintiffs,
15
            vs.
16

17   ZUFFA, LLC, TKO OPERATING COMPANY,
     LLC F/K/A ZUFFA PARENT LLC (D/B/A
18   ULTIMATE FIGHTING CHAMPIONSHIP and
     UFC), and ENDEAVOR GROUP HOLDINGS,
19   INC.,
20

21                 Defendants.

22

23
            PLEASE TAKE NOTICE that ROBERT C. MAYSEY, Counsel for the Class and Plaintiffs
24
     Cung Le, Nathan Quarry, Jon Fitch, Brandon Vera, Luis Javier Vazquez, and Kyle Kingsbury in the
25
     above captioned Le action, and Counsel for the Proposed Class and Attorney for All Individual and
26
     Representative Plaintiffs Kajan Johnson, Clarence Dollaway, and Tristan Connelly in the above
27
     captioned Johnson action, is no longer affiliated with Warner Angle Hallam Jackson & Formanek,
28



                            NOTICE OF CHANGE OF FIRM AFFILIATION AND ADDRESS OF COUNSEL
        Case 2:15-cv-01045-RFB-BNW Document 1050 Filed 10/21/24 Page 2 of 2



 1   PLC, and notices the Clerk of the Court and the parties in this action of the following firm association

 2   and address change:

 3          BERGER MONTAGUE PC
            505 Montgomery Street
 4          Suite 625
 5          San Francisco, CA 94111
            (415) 906-0684
 6          Email: rmaysey@bm.net

 7          All pleadings, papers, documents, and evidentiary material required to be electronically

 8   delivered or mailed should be served upon counsel at the address provided herewith. Please updated

 9   your service lists accordingly.

10          DATED this 21st day of October, 2024.

11

12                                                         BERGER MONTAGUE PC

13

14                                                 By:     /s/ Robert C. Maysey
                                                           Robert C. Maysey
15                                                         505 Montgomery Street
                                                           Suite 625
16
                                                           San Francisco, CA 94111
17                                                         415-906-0684
                                                           Email: rmaysey@bm.net
18
                                                           Co-Lead Counsel for the Class and Plaintiffs
19                                                         Cung Le, Nathan Quarry, Jon Fitch, Brandon
                                                           Vera, Luis Javier Vazquez, and Kyle Kingsbury
20

21                                                         and

22                                                         Counsel for the Proposed Class and Attorney for
                                                           All Individual and Representative Plaintiffs Kajan
23                                                         Johnson, Clarence Dollaway, and Tristan
                                                           Connelly
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                             NOTICE OF CHANGE OF FIRM AFFILIATION AND ADDRESS OF COUNSEL
